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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

REBECCA JORDAN,                                           §
                                                          §
         Plaintiff                                        §
                                                          §
v.                                                        §   CIVIL ACTION NO. 3:14-CV-03620-K
                                                          §
UNITED HEALTHCARE SERVICES,                               §
INC.,                                                     §
                                                          §
         Defendant.
                                                          §
                                                          §


                 JOINT MOTION TO DISMISS AND COMPEL ARBITRATION


         COME NOW Plaintiff Rebecca Jordan (hereinafter, “Plaintiff” or “Jordan”) and

Defendant United Healthcare Services, Inc. (hereinafter, “Defendant” or “UHS”) and file this

Joint Motion to Dismiss and Compel Arbitration and respectfully show the Court as follows:

         Plaintiff and Defendant are parties to an enforceable Arbitration Agreement (“Arbitration

Agreement”) that covers the claim brought by Plaintiff in this lawsuit. In accordance with the

Parties’ Arbitration Agreement, the Parties agree to move this matter and Plaintiff’s claims into

arbitration in accordance with the terms of the written arbitration agreement entered into between

the Parties.

         Accordingly, this Court should enter an order compelling the arbitration of this matter

and dismissing this lawsuit without prejudice.

         WHEREFORE, the Parties respectfully request an order compelling the arbitration of this

matter and dismissing this lawsuit without prejudice.




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Dated this 3rd day of November, 2014.

                                                          Respectfully submitted,



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